

People v Johnson (2020 NY Slip Op 01852)





People v Johnson


2020 NY Slip Op 01852


Decided on March 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 13, 2020

PRESENT: SMITH, J.P., CENTRA, LINDLEY, CURRAN, AND DEJOSEPH, JJ. (Filed Mar. 13, 2020.) 


KA 17-00188.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vJIMMIE D. JOHNSON, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Judgment unanimously affirmed. Counsel's motion to be relieved of assignment granted (see People v Crawford , 71 AD2d 38 [4th Dept 1979]). (Appeal from Judgment of Monroe County Court, Victoria M. Argento, J. - Attempted Burglary, 2nd Degree).








